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                                                                         Page 1

1                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
2                              URBANA DIVISION
3
4       CANDACE VAUGHN,                              )
                          Plaintiff;                 )
5                                                    )
                                                     )
6                                                    )
              -v-                                    )No. 1:22-CV-01107
7                                                    )
                                                     )
8                                                    )
        FOX DEVELOPMENTAL CENTER,                    )
9                         Defendant.                 )
10
11
12            The 30(b)(6) Deposition of FOX DEVELOPMENTAL
13      CENTER (By Rochelle Jackson), having been called by
14      Plaintiff for examination, taken pursuant to notice,
15      and pursuant to all applicable rules of the Federal
16      Code of Civil Procedure, conducted via
17      videoconference, and commencing at the hour of
18      approximately 11:09 a.m. on the 13th day of June,
19      2023.
20
21
22
23      Reported By Beth Radtke, RPR, CRR
24      License No. 084-004561

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1                                  APPEARANCES
2
3       ATLAS CONSUMER LAW GROUP
        By Mr. Alexander J. Taylor
4             2500 South Highland Avenue
              Suite 200
5             Lombard, Illinois 60148
              ataylor@sulaimanlaw.com
6             Appeared on behalf of the Plaintiff;
7
        OFFICE OF THE ATTORNEY GENERAL, STATE OF ILLINOIS
8       By Mr. Robert Hogue, Assistant Attorney General
              500 South Second Street
9             Springfield, Illinois 62701
              robert.hogue@ilga.gov
10            Appeared on behalf of the Defendant.
11                                      *****
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1                       (The witness was duly sworn.)
2                              ROCHELLE JACKSON
3       having been first duly sworn, was examined and
4       testified as follows:
5                                 EXAMINATION
6       BY MR. TAYLOR:
7              Q.       Good morning, Ms. Jackson.           My name is
8       Alexander Taylor, an attorney with Atlas Consumer
9       Law.        I'm here in case number 22 CV 01107 for the
10      30(b)(6) deposition of defendant, Illinois Department
11      of Human Services.
12                      Couple of just preliminary things before we
13      get any further.
14                      First, to make the court reporter's job
15      easier, I'm going to be asking you a series of
16      questions today.         If you could answer verbally, and
17      what I mean by that is yes, no, just verbalize your
18      answer, right?         She has to write down everything we
19      say, and it's hard for her to write down a head nod
20      or shake your head no or even verbalizations like
21      uh-huh or nuh-uh, it's just easier to give a full
22      verbal answer.
23                      Is that going to be a problem?
24             A.       No.


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1            Q.         And I'm sorry I have to do this, but I do
2       this at every deposition.               Are you on any sort of
3       substance, either illicit or prescription, that would
4       affect your ability to answer the questions today?
5            A.         No.
6            Q.         Okay.    So then we're going to go ahead and
7       get started.
8                       Did you do anything to prepare for this
9       deposition?
10           A.         I did.
11           Q.         Without telling me anything your lawyer said
12      to you or anything that you said to your lawyer, I
13      don't want any of that, what did you do to prepare
14      for the deposition?
15           A.         I reviewed the information that I had sent
16      to you based on the subpoena, so the incidents and
17      policies.
18           Q.         Okay, so you reviewed documents, and they
19      were the incident reports and the policies of Fox?
20                      And I'm sorry, let me clarify before you
21      answer that question.
22                      When I say "Fox" are you going to understand
23      that I'm talking about your employer?
24           A.         Correct.


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1            Q.         Okay.    So back to my previous questions, so
2       you reviewed documents that were the policies and the
3       incident reports?
4            A.         Yes.
5            Q.         One more preliminary note.             If I ask a
6       question and you don't understand it, let me know.
7       If you answer the question, I'm going to assume you
8       understood it.           Is that fair?
9            A.         Yes.
10           Q.         Okay.    So did you speak with anyone, other
11      than the company's attorneys, to prepare for this
12      deposition today?
13           A.         No.
14           Q.         Okay.    I'm going to show you Exhibit A, and
15      we're doing this on Zoom, so I apologize.                       Make sure
16      you can see it.           If you can't see it, let me know.
17           A.         Okay.
18           Q.         Do you see yourself, or do you see the --
19      can you see the notice?
20           A.         I can.
21           Q.         Okay.    Can you see that this is Plaintiff's
22      Notice of Taking Deposition of Designated Corporate
23      Representative?
24           A.         Yes.


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1            Q.         And that's for June 13th at 10:30?
2            A.         Yes.
3            Q.         Okay.    Obviously we're running a little
4       late, but have you seen this notice before?
5            A.         Yes.
6            Q.         And I will scroll through it just to make
7       sure you've seen it.
8                       You recognize the notice?
9            A.         Yes.
10           Q.         Okay.    And you understand that you have been
11      identified as one of the employees to answer
12      questions on these topics, correct?
13           A.         Yes.
14           Q.         Okay.    And you understand that you are going
15      to be answering these questions on behalf of Fox and
16      not on your own behalf?
17           A.         Correct.
18           Q.         And you are prepared to answer the questions
19      on these topics?
20           A.         I am.
21           Q.         Did you bring any documents with you to
22      today's deposition?
23           A.         I did.
24           Q.         Okay.    What did you bring?


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1            A.         I brought the notice that you have on the
2       screen, I brought Ms. Vaughn's personnel file, I
3       brought administrative directives, I brought the
4       incident folders referenced in the document.
5            Q.         Okay.     So we're going to be asking questions
6       and answering off of exhibits that I show you and
7       your memory.
8                       So what we would ask is that you put all of
9       your own personal documents aside until we're done
10      with the deposition.             Is that understood?
11           A.         Yes.
12           Q.         Okay.     Again I'm not exactly Zoom
13      proficient.            I should be stopping my screen share
14      shortly.         We should be back.           Okay, good.
15                      So what is your present address?
16           A.         134 West Main Street, Dwight, Illinois,
17      60420.
18           Q.         How long have you lived at this location?
19           A.         I'm sorry, that is my work address.
20           Q.         Okay.     What's your present home address?
21           A.         31419 East 2100 North Road, Emington,
22      Illinois, 60934, since 1995.
23           Q.         Okay.     And do you own any other homes?
24           A.         I do not.


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1             Q.        Have you ever gone by any other names or
2       aliases?
3             A.        I have previous married names.
4             Q.        Okay.    So just other married names, no --
5             A.        Correct.
6             Q.        Did you graduate high school?
7             A.        I did.
8             Q.        Okay.    When did you graduate high school?
9             A.        1982.
10            Q.        And where did you go to high school?
11            A.        Alan B. Shepard in Palos Heights, Illinois.
12            Q.        Did you attend college?
13            A.        I did.
14            Q.        And where did you go to college?
15            A.        I went to Moraine Valley Community College
16      in Palos Hills, and then I went to the University of
17      Illinois at Chicago.
18            Q.        I also went to Moraine Valley and UIC.                    My
19      wife went to Moraine, and both my parents taught at
20      Moraine, so I know that one very well.
21                      And when did you graduate college?
22            A.        1986.
23            Q.        Have you taken any courses or classes on
24      discrimination or harassment outside of college?


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1            A.         I am trained annually with DHS in both.
2            Q.         Okay.     Did you take any courses when you
3       were in college?
4            A.         Not that I recall.
5            Q.         What was your degree in?
6            A.         Criminal justice and psychology.
7            Q.         Did you -- have you taken any sort of
8       postgraduate classes?
9            A.         I have not.
10           Q.         Who is your current employer?
11           A.         State of Illinois, Department of Human
12      Services at Fox Center.
13           Q.         What's your job title?
14           A.         Human -- well, public service administrator.
15      HR director.
16           Q.         And when did you begin working for the State
17      of Illinois?
18           A.         October of 2000.
19           Q.         Just to clarify, you said you were the HR
20      director?
21           A.         Correct.
22           Q.         Have you had any other job titles during
23      your employment with the State of Illinois?
24           A.         I have.


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1            Q.         And what are those job titles?
2            A.         I was a mental health technician, I was a
3       habilitation coordinator, I was a human resources
4       representative, and then the public service
5       administrator/human resources director.
6            Q.         How long have you been the public service
7       administrator/HR director?
8            A.         Since July 16th of 2020.
9            Q.         Okay.     Is your office located at the Fox
10      Center?
11           A.         It is.
12           Q.         Has your office been at the Fox Center since
13      your employment began with the State of Illinois?
14           A.         It has.
15           Q.         Okay.     And I'm sorry, what was the job you
16      said you were previous to HR director?
17           A.         A human resources representative.
18           Q.         And when were you the human resources
19      representative?
20           A.         From February of 2013 through July of 2020.
21           Q.         What were your duties as -- in your current
22      position as HR director, what are your current
23      duties?
24           A.         I am the labor relations workplace violence


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1       group insurance deferred comp liaison.                      So...
2            Q.         Would it be fair to say that your job duties
3       include investigating claims made by employees
4       regarding discrimination, harassment, or retaliation?
5            A.         I make informal investigations, yes.
6            Q.         Okay.     And you receive -- just to clarify,
7       you receive antidiscrimination, antiharassment, and
8       anti-retaliation training yearly with Fox?
9            A.         Correct.
10           Q.         Do you have a current supervisor?
11           A.         I do.
12           Q.         Who is that supervisor?
13           A.         The facility director.
14           Q.         What's their name?
15           A.         Rhonda Knockum and Ray Jackson are the
16      facility directors.
17           Q.         Are they the highest level at Fox?
18           A.         Yes.
19           Q.         Have you ever been disciplined by the State
20      of Illinois?            And I mean in a job capacity.
21           A.         I think I have received warnings for tardy
22      and mandate refusal when I was a technician.
23           Q.         So this would have been -- when were you a
24      technician?


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1              A.       Oh, golly.     From 2000 to 2002.
2              Q.       Prior to working at Fox, where did you work?
3              A.       I was a substitute teacher from 1996 to
4       2000.
5              Q.       And as a substitute teacher, you didn't do
6       any sort of antidiscrimination, antiharassment or
7       anti-retaliation training or work?
8              A.       I don't believe so.
9              Q.       Have you ever testified in a deposition,
10      administrative proceeding, or in court on behalf of
11      Fox?
12             A.       I have not.
13             Q.       Have you ever been involved in any EEOC
14      proceeding related to a claim of discrimination,
15      harassment, or retaliation?
16             A.       I have not.
17             Q.       Okay.   And just for clarity purposes, you
18      know when I say EEOC I'm referring to the Equal
19      Employment Opportunity Commission?
20             A.       I do.
21             Q.       Have you ever been a party to any lawsuit,
22      either as a plaintiff or a defendant?
23             A.       I don't believe so, no.
24             Q.       Have you ever been convicted of a crime


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1       other than minor traffic tickets?
2            A.         No.
3            Q.         Have you personally ever been the subject of
4       a complaint to human resources?
5            A.         No.
6            Q.         Okay.   To the best of your knowledge, have
7       you ever been the subject of a complaint of
8       discrimination, harassment, or retaliation?
9            A.         No.
10           Q.         Okay.   Did you receive an employee manual or
11      handbook while you have been employed at Fox?
12           A.         All employees receive a DHS employee
13      handbook, so yes.
14           Q.         When did you receive that?
15           A.         Upon hire, in 2000.
16           Q.         And it's still, to the best of your
17      knowledge, the policy that all employees receive that
18      when they start?
19           A.         Correct, yes.
20           Q.         Did they receive it in physical form or do
21      they receive an electronic copy or both?
22           A.         They would receive a physical form; however,
23      they now receive an electronic copy as of the last
24      six months through DocuSign.


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1            Q.         To the best of your knowledge, have you
2       received any revisions to the manual or handbook?
3            A.         Yes.
4            Q.         Okay.   When was the last revision made?
5            A.         That I don't recall.
6            Q.         Okay.   Would you say it was before 2020 or
7       after 2020?
8            A.         Honestly, I don't recall.             I would have to
9       look to see what version is current.
10           Q.         Okay.   I'm also going to bring up what we're
11      going call Exhibit B.            Give me again one second to
12      pull this up.
13                      Okay, do you see the mandated policies,
14      equal employment opportunity/affirmative action?
15                      Do you need me to zoom in?
16           A.         Yeah, please.
17           Q.         Okay.   Sorry.    Again, I apologize if I'm
18      zooming in on your face, but I'm not sure if you see
19      that or not, but it's --
20           A.         I see that.
21           Q.         Equal Employment Opportunity/Affirmative
22      Action EEO/AA Discrimination and Harassment.
23           A.         Yes.
24           Q.         Okay.   To the best of your knowledge, are


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1       these the current policies?                 And you can have a
2       second; let me know if you want me to scroll in or
3       out.
4                       Are these the current policies regarding
5       race discrimination with -- with Fox?
6              A.       Honestly, I'm not certain, as I see that
7       there's a 4-1-09 date on that.                   I would want to refer
8       to the current DHS handbook to be sure.                       So I'm not
9       sure if that's the current one, most current.
10             Q.       Okay.     Would you -- looking at this, would
11      you say you've seen these policies previously,
12      whether they are the most current or at some point
13      were current with Fox?
14             A.       Yes.
15             Q.       So the employer, Fox, does have policies
16      regarding the handling of complaints by employees for
17      discrimination?
18             A.       Yes.
19             Q.       Okay.     Is it the extent of those policies?
20             A.       No.     Fox -- well, we follow the DHS
21      administrative directive in regards to
22      discrimination, harassment, workplace violence.                             Fox
23      Center also has an antidiscrimination policy that is
24      built off of that administrative directive.


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1            Q.         Would Fox give all employees copies of this
2       policy and the subsequent policies you brought up?
3            A.         All employees receive the employee handbook
4       upon hire.
5            Q.         Right, so -- so are all of those policies
6       you just outlined in the employee handbook?
7            A.         No, the employee handbook is a separate
8       document from the administrative directive.                      I would
9       have to look at them side by side to ensure that they
10      reflect the same information.                I will assume that
11      they do, but I'm not going to say for certain.
12           Q.         Okay.   Just because I want to make sure I'm
13      clear on this, using this -- and at least on 4-2-2009
14      was the most recent policy.               Would this policy that
15      you are looking at on the screen have been in the
16      employee handbook?
17           A.         Rephrase that question, please.
18           Q.         I know that you said you are unsure if this
19      is the most recent policy for EEO/AA, however at one
20      point it was, right?           So on April 2, 2009, right?
21      Because this was updated April 1, 2009, so on
22      April 2, 2009, if there was a new hire, in the
23      employee handbook would they have received this
24      specific policy?


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1             A.        Yes, it would have been in the handbook and
2       they received the handbook, yes.
3             Q.        And if this policy has not been updated,
4       then a new hire would receive this policy?
5             A.        Yes.
6             Q.        So talking about the administrative
7       directives and these policies here, what do they say
8       about racial discrimination?
9                       I'll be a little more specific.
10                      Do they constitute how to make a complaint
11      of racial discrimination?
12            A.        Yes.
13            Q.        How do you make a complaint of racial
14      discrimination?
15            A.        Me personally or an employee?
16            Q.        An employee.
17            A.        The employee is provided -- if the employee
18      comes to me as HR, I am going to review the
19      administrative directive with them.                     I give them a
20      copy, I give them a copy of the complaint form,
21      explain the process of completing that complaint and
22      sending it in to the Bureau of Civil Affairs.
23            Q.        Does the policy or the more updated version
24      or the administrative directives, do they address


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1       what type of complaint would merit a response or
2       investigation by human resources and which would not?
3            A.         It identifies and spells it out what each --
4       basically the administrative directive is going to
5       illustrate what rises to the level of antiharassment,
6       discrimination, hostile work environment, et cetera,
7       and then provides the detailed steps on filing a
8       complaint.
9            Q.         Okay.   So is there a policy or procedure for
10      human resources to determine, on an initial
11      complaint, whether it merits investigation or whether
12      it merits just kind of casting to the side?
13           A.         Well, there is a process that I was -- I was
14      instructed to basically -- if somebody came to me
15      with a complaint, I'm going to informally
16      investigate, review the information, review it
17      against the administrative directive to determine if
18      it rises to the level of what is listed in the
19      complaint.
20           Q.         What does the administrative directive say
21      would rise to the level of harassment or
22      discrimination?
23           A.         I would have to look at it to be exact, but
24      it does make reference to whether or not a reasonable


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1       person, upon review, would agree that this is
2       interfering with the -- I don't want to misquote the
3       administrative directive, because to be honest, if
4       I'm receiving a complaint, I'm always going to review
5       it.    So without it being in front of me, I hesitate
6       to answer.
7             Q.        Okay.   If someone came to you with a
8       complaint of racial discrimination, so for example,
9       someone comes to HR and says I'm being discriminated
10      against because I'm Black, and when you investigate
11      -- would you investigate that?                 If that was the
12      complaint, if the complaint was I'm being
13      discriminated against because of my race, would that
14      be something that would merit an investigation?
15            A.        I would -- yes, I would ask that employee to
16      provide a written statement of her issues, his
17      issues.         Based on what that information contains, I'm
18      going to informally get written statements from
19      anybody else named, and then, based on the
20      information provided, I am going to proceed based on
21      what I discover.
22            Q.        Do any of the policies make a distinction
23      between a formal complaint of discrimination and
24      other types of complaints?              So really between, like,


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1       a formal and informal complaint?
2             A.        Well, when I say informal -- hmm.                 I'm not
3       sure.      Please rephrase the question.
4             Q.        Sure.    If an employee comes in distressed
5       and just tells their manager, okay, I've been
6       discriminated against because of my race, or I've
7       been harassed because of my race, versus filling out
8       a written memo and submitting it, would HR treat
9       those differently?
10            A.        No, I guess I'm using the term "informal,"
11      because I am doing the informal investigation and
12      gathering the information.                If an employee brings me
13      a complaint, a complaint is a complaint that merits
14      investigation.           I'm thinking of formal complaint as
15      the complaint form provided to BCA.
16            Q.        Okay.    So you say informal investigation.
17                      Can you tell me what the difference between
18      a formal investigation and an informal investigation
19      is by HR?
20            A.        I guess that's just my term that, when I
21      think of formal investigation, I am thinking of BCA,
22      State Police, OIG.           So to me, not being one of those
23      investigators, I refer to myself as an informal
24      investigator.           So that's just my title that I gave


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1       myself.
2             Q.        No, understood.        I'm going to zoom in on a
3       paragraph here.            I just want to make sure we can see
4       it.
5                       So it says:      An employee or applicant who
6       either observes or believes himself or herself to be
7       the object of discrimination or harassment.
8                       You see the paragraph I'm looking at, right?
9             A.        I do.
10            Q.        Okay.   So it says:         Either immediately
11      contact the DHS Bureau of Civil Affairs for
12      consultation, or file a written internal charge.
13                      Is that the correct reading of this, that
14      it's a one or the other?
15            A.        Correct.
16            Q.        Okay.   I'm going to pull up a different
17      exhibit, if you could give me one second.                       This will
18      be Exhibit C.
19                      Do you recognize this document, the
20      Defendant's Responses to Plaintiff's First Set of
21      Interrogatories?
22            A.        I mean, yes, I see it.
23            Q.        Have you ever seen it before?
24            A.        Yes.


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1            Q.         Did you assist with the answering of these
2       questions?
3            A.         Yes.
4            Q.         I just want to direct your attention to
5       interrogatory 7.         I'm going to paraphrase it a bit.
6       If you can't read it, let me know.
7                       Describe fully and in detail what steps
8       defendant took to prevent retaliation after she
9       complained of discrimination, unlawful activity, and
10      favoritism and unfair treatment.
11                      Do you see the question?
12           A.         I do.
13           Q.         Now there were documents produced, but then
14      it says:         Plaintiff never filed a complaint of
15      discrimination, unlawful activity, and/or harassment
16      with defendant's Bureau of Civil Affairs, which is
17      the appropriate place to file such complaints
18      internally.
19                      But according to your procedure, that's not
20      necessarily the truth; that's one of the two places
21      to file complaints?
22           A.         Well, from my standpoint, I'm also providing
23      and giving the administrative directive to the
24      employee regardless, so they have that mechanism for


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1       filing a complaint.
2            Q.         I understand, but according to the company's
3       policies and procedures we just read, it says as long
4       as -- you can either report to the defendant's Bureau
5       -- or Fox's Bureau of Civil Affairs or file a written
6       complaint, which my client did do.
7                       So she did file an appropriate complaint; is
8       that fair to say?
9            A.         I don't know that I agree with that.
10           Q.         Per your policies, a written complaint would
11      be an appropriate way to bring up discrimination?
12           A.         Well, so if you're defining -- so yes, she
13      wrote a memo with her issue.
14           Q.         Okay.
15           A.         And she was provided the administrative
16      directive and the complaint form for BCA.
17           Q.         So again, just flipping back to the policy,
18      I just want to make sure I understand everything
19      here.
20                      It says immediately contact the DHS Bureau
21      of Civil Affairs, which is what the interrogatory
22      said my client didn't do, or to file a written
23      internal charge without fear of retaliation.
24                      To the best of your knowledge, did my client


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1       file any written charges, written internal memos with
2       her managers?
3            A.         She did.
4            Q.         So per policy, she did what needed to be
5       done when some -- an employee or applicant believes
6       himself or herself is the object of discrimination?
7            A.         Okay.
8            Q.         So going back to interrogatory answer 7 in
9       Exhibit C, this is not -- would you like to update
10      the answer at all and say that she -- she did file a
11      complaint in the appropriate place?
12           A.         She did file an internal memo.
13           Q.         I'm going to turn off the exhibits again for
14      now, so please bear with me.
15                      MR. HOGUE:     And while you're doing that, I
16      guess for the record, I will object to the previous
17      question that -- for foundation that she didn't
18      herself explicitly answer the interrogatory, but I
19      understand that she's already answered, so I would
20      just like to preserve my objection for the record.
21                      MR. TAYLOR:      She did say she assisted in
22      answering the questions.
23                      MR. HOGUE:     Yes, she did say that, but...
24                      MR. TAYLOR:      Okay.


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1       BY MR. TAYLOR:
2            Q.         Let's see.     Let's move on to -- okay.
3                       During your time at Fox, have you ever
4       personally handled any investigations into claims of
5       racial discrimination or harassment or retaliation by
6       an employee?
7            A.         I have reviewed memos that have been
8       submitted and measured them against the
9       administrative directive.
10           Q.         So you have investigated claims of racial
11      discrimination?
12           A.         Not previously, just this -- just this case.
13           Q.         Okay.   So outside of Ms. Vaughn, have you
14      handled any investigation into discrimination,
15      harassment, or retaliation?
16           A.         No.
17           Q.         Have you ever been involved in an
18      investigation, whether with Ms. Vaughn or a previous
19      one, that resulted in discipline for the alleged
20      wrongdoer?
21           A.         Rephrase that, please.
22           Q.         Okay.   Have you ever been involved in a
23      racial discrimination investigation, okay?                        And I
24      mean including Candace Vaughn's, that resulted in


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1       discipline for the alleged wrongdoer?                    So was anyone
2       ever punished for discriminating or allegedly
3       discriminating against another employee?
4             A.        Would not have been in an investigation.                  I
5       don't issue discipline, so I'm going to answer no.
6             Q.        So the best of your knowledge, has an
7       employee ever been punished for allegedly racially
8       discriminating against another employee?
9             A.        Not that I'm aware of.
10            Q.        So the to the best of your knowledge, has
11      any other employee of Fox made any sort of complaint
12      of discrimination or harassment in connection with
13      their employment with Fox?
14            A.        Not that I'm aware of.
15            Q.        Has any employee made a formal or informal
16      complaint of retaliation in connection with their
17      employment with Fox?
18            A.        Not that I'm aware of.
19            Q.        So to the best of your knowledge there has
20      been one complaint of discrimination or retaliation
21      in connection with employment at Fox, and that would
22      be Ms. Vaughn?
23            A.        Yes, during my time as the HR director.
24            Q.        Of course, I know you can't speak on things


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1       you don't know of.
2                       That's why I'm saying to the best of your
3       knowledge, since you've been in HR, you've been there
4       since 2000, the only complaint you know of is
5       Ms. Vaughn's in terms of race discrimination,
6       retaliation, or harassment?
7            A.         Yes.
8            Q.         Okay.   Did you conduct the investigation
9       into Candace Vaughn's complaint?
10           A.         Which complaint?
11           Q.         Let's talk about all three of them.                  We'll
12      start with Angela Smith.
13                      Did you investigate the complaint Ms. Vaughn
14      had with Angela Smith?
15           A.         I did seek memos, as well as written
16      statements from all employees involved, yes.
17           Q.         Okay.   Does Fox deny Ms. Vaughn's statement
18      about what happened with Ms. Smith?
19                      MR. HOGUE:     I'm going to --
20                      THE WITNESS:      Yeah --
21                      MR. HOGUE:     -- object at this time.               I think
22      that in part calls for speculation, and I object on a
23      foundation basis.
24                      MR. TAYLOR:      I'm just going to remind


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1       opposing counsel to keep the objections to form, you
2       know, no speaking objections here because we are in a
3       federal dep, but the objection is noted.
4       BY MR. TAYLOR:
5            Q.         And, Ms. Jackson, you can answer if you know
6       the answer to it.          But the objection is preserved
7       obviously.
8            A.         So rephrase the question.
9                       MR. TAYLOR:     Beth, can you read the question
10      back?
11                      (Record read as follows:              Does Fox deny
12                      Ms. Vaughn's statement about what happened
13                      with Ms. Smith?)
14      BY THE WITNESS:
15           A.         I feel that I can't accurately answer that.
16      BY MR. TAYLOR:
17           Q.         Why not?
18           A.         Do I deny it?     I...
19                      I wasn't there, I did not observe it, so I
20      can only attest to the written documentation that I
21      received.
22           Q.         Okay.   Based on the written documentation,
23      how did Fox respond to the altercation between
24      Ms. Vaughn and Ms. Smith?


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1            A.         So based on the memos that were provided and
2       the information it contained, a workplace violence
3       packet was completed and sent to Bureau of Civil
4       Affairs, as well as the Illinois State Police were
5       called and they investigated that charge as well.
6            Q.         What was the outcome of those
7       investigations?
8            A.         Charges were not filed on behalf of
9       Ms. Vaughn against Ms. Smith by the Illinois State
10      Police, and as far as the workplace violence, it was
11      unsubstantiated.
12           Q.         Okay.   Did Ms. Vaughn get disciplined for
13      the altercation with Ms. Smith?
14           A.         She did.
15           Q.         What was Ms. Vaughn's discipline?
16           A.         She received a written reprimand.
17           Q.         Was she suspended?
18           A.         She was not.
19           Q.         Did Ms. Smith receive any discipline?
20           A.         She did.
21           Q.         What was her discipline?
22           A.         She was suspended.
23           Q.         Okay.   Was Ms. Vaughn's -- strike that.
24                      Did Ms. Vaughn get reassigned based on the


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1       altercation with Ms. Smith?
2            A.         Both she and Ms. Smith were reassigned.
3            Q.         What was Ms. Vaughn -- what was Ms. Vaughn's
4       position prior to reassignment?
5            A.         She was a mental health tech trainee.
6            Q.         And what was she reassigned to?
7            A.         She was reassigned to work in our dietary
8       department.
9            Q.         Was this as a punishment for what happened
10      with Ms. Smith?
11           A.         No.     Our supplemental designates the dietary
12      department as a location for reassignment, should it
13      be necessary.
14           Q.         Okay.     And what was Ms. Smith's position
15      prior to being reassigned?
16           A.         Registered nurse 2.
17           Q.         And then what was she reassigned to?
18           A.         She was reassigned to the nursing
19      department.
20           Q.         Okay.     Was Ms. Vaughn instructed to do
21      custodial work when she was reassigned?
22           A.         I -- I can't speak to that.                 I don't know.
23           Q.         Would Ms. Smith have been reassigned to
24      doing any dietary or custodial work?


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1            A.         I can't speak to that.
2            Q.         Is Ms. Smith, to the best of your knowledge,
3       African-American?
4            A.         She is not.
5            Q.         Okay.   When was plaintiff brought back to
6       her regular position?
7            A.         I believe it was April 9th.
8            Q.         And Ms. Smith, same question?
9            A.         I assume the same.
10           Q.         Are you familiar with an incident between
11      Ms. Vaughn and a co-worker, Paula Hertz?
12           A.         Yes.
13           Q.         Can you let me know how you are familiar
14      with this incident?
15           A.         I believe I was notified by the supervisor
16      that Ms. Vaughn had called that office to complain
17      about her interaction.
18           Q.         Okay.   And were there any complaints of
19      racial discrimination made between Ms. Vaughn and
20      Ms. Hertz?
21           A.         I would have to review the document to be
22      sure.
23           Q.         Did you -- were you part of HR the entire
24      time Candace Vaughn was employed with Fox?


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1            A.         I was.
2            Q.         Okay.     Were you the director of HR at the
3       time of this incident with Paula Hertz?                       I believe it
4       was May 31, 2020.
5            A.         No.     Of 2020?
6            Q.         2021.
7            A.         Oh, 2021, yes.
8            Q.         Would you have -- had a complaint of racial
9       discrimination been made, would you have reviewed
10      that complaint?
11           A.         Yes.
12           Q.         And if a memo was written, you would have
13      seen the memo?
14           A.         If she submitted it to me, yes.
15           Q.         If she submitted a memo of discrimination to
16      Joshlyn -- strike that.
17                      Are you familiar with Joshlyn Miles?
18           A.         Yes.
19           Q.         Okay.     Who is Joshlyn Miles?
20           A.         She was one of our residential services
21      supervisors.
22           Q.         Okay.     And that would be the RSS office,
23      correct?
24           A.         Correct.


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1            Q.         Okay.     So if Ms. Vaughn submitted a
2       complaint of discrimination, whether she just told
3       Joshlyn or wrote something to Joshlyn, would you have
4       heard about that complaint?
5            A.         Possibly.
6            Q.         Okay.     To the best of your recollection was
7       there any investigation done into --
8            A.         So I --
9            Q.         -- Ms. Vaughn's complaint against Ms. Hertz?
10           A.         Yes, I believe she was asked to submit a
11      memo.     That memo would have been reviewed to
12      determine was it job duties she was being requested
13      to do, was it -- you know, what's the merit of the
14      issue being brought up.              Sometimes it's personality
15      issues.
16           Q.         Okay.     I've got an exhibit here, but it's
17      sideways, so I'm going to try and fix it, but I'm
18      going to try and pull an exhibit up, if you guys can
19      bear with me.
20                      Okay, again, it's sideways, and I apologize,
21      but can you see what should be the top, it says
22      Message Reply Form in the far left?                     I'm sorry to
23      make you do that.
24                      It says Message Reply Form.                 It says "To


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1       whom it may concern," and it says Candace Vaughn.
2            A.         Yes.
3            Q.         Would this be a written memo for a complaint
4       of discrimination?
5            A.         It's -- it's a memo, yes.
6            Q.         If you can see, the date is May 31, 2021?
7            A.         Yes.
8            Q.         And the first sentence is:           I'm feeling like
9       I'm being harassed and discriminated by Ms. Paula
10      Hertz.
11           A.         Yes.
12           Q.         So this would have been an incident of
13      discrimination that would have been elevated to you?
14           A.         It did come to me.
15           Q.         And did it ever get investigated?
16           A.         So what I'm going do is I'm going to look at
17      the incidents that occurred, I'm going to get written
18      statements, I'm going to review to determine whether
19      or not it rises to the administrative directive.
20                      If it is a matter of personality issues,
21      that does not rise.         If she is being asked to perform
22      duties within the scope of her position and -- and
23      she is refusing or she doesn't believe she should, I
24      am always going to take all of that and I'm also


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1       going to present it to the facility director for
2       guidance as well.
3            Q.         Okay.    So what was the outcome of this
4       investigation with Paula Hertz?
5            A.         Can I look at the memo again?
6            Q.         Yes.    Give me one second and I will bring up
7       the memo.
8                       I am no longer sharing my screen, correct?
9                       MR. HOGUE:     Correct.
10                      THE WITNESS:      Correct.
11                      MR. TAYLOR:      Okay.      Sorry, it's hard for me
12      to tell.
13      BY MR. TAYLOR:
14           Q.         Okay, the memo is back up on screen.                  Only
15      the first one is sideways here.
16           A.         So the outcome of this was I proceeded to
17      get written statements from other staff and
18      determined that it was a matter of she was requested
19      to complete -- let's see.
20                      So when I read further, she continues to
21      write that...
22           Q.         Do you need me to scroll?
23           A.         No, no, I'm reading it.
24                      It's just in the context of this situation,


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1       she has her lead worker requesting her to do tasks
2       within the scope of her position.                      She does -- she's
3       stating that she's being asked to put sunscreen on,
4       but it wasn't sunny.
5                       So she stated that she felt she was being
6       discriminated against, but yet when this was
7       reviewed, the -- the tasks that she was being asked
8       to complete had nothing to do with -- they fell
9       within the scope of being a tech trainee, therefore,
10      it did not appear that there was harassment or
11      discrimination.            She was just being asked to do her
12      job.
13                      But I also met with her and discussed and
14      provided her again with the administrative directive
15      and the complaint form.               I asked her if she needed
16      assistance, and she did not.
17             Q.       So to clarify, you met with Ms. Vaughn and
18      your position at this time was director of HR,
19      correct?
20             A.       It was.
21             Q.       Okay.     You met with Ms. Vaughn, and did you
22      inform her there would be no further action from HR
23      on this complaint and that she would have to go to
24      the -- I'm sorry, DHS Bureau of Services?


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1            A.         No.     So the process is, again, review the
2       administrative directive, provide her with the
3       complaint form.
4                       All this information then goes to the
5       facility director for the facility director to
6       determine what is going to occur at that point.
7                       I am not part of the discipline process; I
8       don't make that determination.                   I gather the
9       information and provide it to the appropriate entity.
10           Q.         Okay.     You had mentioned that Ms. Vaughn was
11      being instructed to do things that were within the
12      purview of a tech -- I'm sorry, a tech trainee?
13           A.         Correct.
14           Q.         Okay.     However, just looking at Ms. Vaughn's
15      complaint here, the complaint, to me, looks like
16      she's complaining about being forced to do things
17      that other employees were not being forced to do.
18                      Was that investigated?
19           A.         Well, yes.
20           Q.         Okay.     How so?
21           A.         Well, throughout written statements it's
22      being asked what was she being asked to do, and in
23      talking to Ms. Vaughn herself, what was she being
24      asked to do that she did not feel she should be


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1       doing.
2             Q.        Well, I'm not asking that specifically.
3                       What I'm saying is, was it investigated that
4       she had to do certain things that Ms. Hertz was not
5       making other employees do, even if those activities
6       were within the purview of what a tech trainee would
7       do?
8             A.        I don't understand your question, because I
9       feel like I answered that.
10            Q.        Okay.   So I guess let me be more specific,
11      just because I want to make sure I have the correct
12      answer here.
13                      For example, Ms. Vaughn complained
14      specifically of using a lift to get individuals up,
15      and Ms. Vaughn specifically -- so is using a lift
16      within the purview of a tech trainee?
17            A.        Yes.
18            Q.        Is that something --
19            A.        We're a no-lift facility.             All techs are
20      required to use a lift.
21            Q.        Okay.   So knowing that she was asked to do
22      that, that's not outside of her job duties?
23            A.        Correct.
24            Q.        However, was it investigated that she was


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1       the only tech trainee being asked to use a lift?
2            A.         She would not be the only tech asked to use
3       a lift.         All --
4            Q.         It says in her complaint here she was the
5       only tech that was asked to use lift.
6            A.         Yes.     When asked -- so -- I'm trying to
7       think how I can best answer this.
8                       So although she's saying that she is being
9       required to do things other staff are not required to
10      do, other staff were asked do they use the lift
11      because they are required to use the lift.
12           Q.         Okay.
13           A.         So she wouldn't be being asked to do
14      anything else that a technician wouldn't be doing or
15      shouldn't be doing.
16           Q.         Okay.     Let's go towards her breaks.               Again,
17      her specific complaint is I had to ask for both of my
18      15-minute breaks, but none of the other techs had to.
19                      Was that investigated?
20           A.         It was.
21           Q.         Okay.     How?
22           A.         One, I spoke to the lead worker, who was
23      Paula Hertz, and Paula Hertz, as the lead worker,
24      assigns all breaks.              There is a break schedule.


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1            Q.         And Paula Hertz is the individual that
2       Ms. Vaughn complained about was being racist.
3            A.         Okay.
4            Q.         So if you were asked, had you racially
5       discriminated against another individual, would you
6       admit, yes, I racially discriminated against that
7       individual, or would you answer differently?
8            A.         I would hope I would answer honestly.
9            Q.         I would hope so too, but in the course of --
10           A.         -- how she would answer.
11           Q.         Okay.   In the course of your career -- well,
12      you haven't dealt with racial -- strike that.
13                      You said this is the only racial
14      discrimination complaint you've seen.
15                      So did you interview anyone else regarding
16      the breaks, or just Paula Hertz?
17           A.         Well, as the lead worker, I did talk to
18      Paula Hertz, and Paula Hertz stated that she did not
19      require Candace to do anything that the other
20      technicians aren't required to do.                    For example,
21      going to break.
22           Q.         And just to harken back on the lift, I
23      believe the complaint here is that Ms. Vaughn had to
24      do all lifting while the other employees didn't, and


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1       again, I'm just going say you interviewed Paula Hertz
2       on this topic?
3            A.         Correct.
4            Q.         So the only person you interviewed is the
5       person who was complained about as the person that
6       was racially discriminating against Candace Vaughn?
7            A.         Correct.
8            Q.         So the course of your entire discrimination
9       investigation was speaking to Ms. Vaughn and speaking
10      to Ms. Hertz?
11           A.         Correct.
12           Q.         Is the administrative directive to not have
13      any other witnesses, if there are any?
14           A.         Well, neither stated there were any other
15      witnesses, therefore, I did not have reason to
16      interview anybody.
17           Q.         Okay.   Would there have been anybody else on
18      the floor with Paula and with Candace Vaughn?
19           A.         I can't answer that.
20           Q.         Okay.
21           A.         I would not know.
22           Q.         So do you have any reason to doubt the
23      veracity of Ms. Vaughn's claim that Paula was
24      discriminating against her?


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1            A.         I don't have any reason to believe it's
2       true, I don't have any reason to believe it's not
3       true.
4            Q.         Okay.   And how did the investigation
5       conclude?         What was the final outcome of this
6       investigation?
7            A.         My part would have been to assemble the
8       written statements, to provide Ms. Vaughn with the
9       administrative directive and the complaint form, and
10      to provide that to the facility director to determine
11      what action would be taken.
12           Q.         To the best of your knowledge, was any
13      action taken either with Ms. Vaughn or Ms. Hertz?
14           A.         Not to my knowledge.
15           Q.         And I'm sorry, just because I want to make
16      sure I understand the full structure, you don't have
17      any power as the HR director to initiate any sort of
18      action being taken against one or the other; that
19      would go up to the director of Fox?
20           A.         You have your residential services director
21      and you have your facility director, so -- I'm sorry.
22      The facility director is going to be the person who,
23      based on all the information presented, determines if
24      there is an outcome in terms of do we allow -- is


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1       there discipline warranted based on the statements
2       provided.         So he would be better to answer that
3       question.
4            Q.         Okay, I'm going to move on to the last
5       incident, and that's the incident with Veronica.
6                       Are you familiar with the incident with
7       Veronica?
8            A.         I believe so.
9            Q.         To the best of your knowledge, what happened
10      between Ms. Vaughn and Veronica?
11           A.         I believe that was the instance in which
12      Ms. Vaughn was upset at her assignment for that day,
13      and then called to complain to the residential
14      services director, and then went home sick.
15           Q.         Who would have been the residential services
16      director that Ms. Vaughn would have complained to?
17           A.         It would be either Yvonne or Joshlyn.
18      Yvonne Thweatt or Joshlyn Miles.
19           Q.         Did you -- did you read Ms. Vaughn's memo
20      where she complains of racial discrimination by
21      Veronica and subsequently feels the need to resign
22      because of it?
23           A.         I did.
24           Q.         Okay.    And was this ever investigated?


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1              A.       So what I did was I received the memo in
2       which she said that -- so I called RSS to determine
3       what would be the reason for Ms. Vaughn feeling that
4       way.
5                       I'm aware that the day before, the person,
6       the employee who was assigned that same person only
7       provided care for that individual.                   When Candace was
8       assigned that person the next day, she then was
9       requested to assist with other individuals on that
10      living area.
11                      And what I found out was there was a
12      definite staffing issue; the day before, that unit
13      had more staff, therefore, that person was not
14      required to assist.         On the day that Candace was
15      assigned that group, facility staffing was less; we
16      had one less staff person in the living area.                      The
17      individual who she was assigned to was already up and
18      dressed by the midnight staff, therefore, his
19      supervision changed.          So she was asked to then assist
20      with other individuals, because his cares were
21      already provided.
22             Q.       So my question really is, in terms of
23      investigating the alleged racial discrimination, did
24      you do any interviews?           Did you look into what --


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1       other than statements, which I understand this is
2       your statement of what happened.
3             A.        Right.
4             Q.        But did you do any interviews with
5       individuals based on the alleged racial
6       discrimination?
7             A.        What do you mean specifically by
8       investigation?           Did I call the supervisor and ask
9       what the staffing was for both days?                      I did.
10            Q.        Okay.
11            A.        I also -- so I spoke with RSS, I spoke with
12      Candace.         I also spoke to Veronica to try and get a
13      clear picture of what exactly happened that day.
14            Q.        Okay.    Have you heard or did you speak with
15      Joshlyn Miles regarding what happened that day?
16            A.        I did.
17            Q.        Okay.    Were you informed that Ms. Vaughn
18      alleged Veronica stated she couldn't stand working
19      with Black women?
20            A.        She did not.
21            Q.        Did Ms. Vaughn -- I'm sorry, strike that.
22                      When you're saying "she did not," are you
23      saying you had not heard from Joshlyn Miles that my
24      client had made that allegation?


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1            A.         I -- I don't recall.
2            Q.         Okay.
3            A.         I would have to look at the memo to be sure.
4            Q.         Give me one minute.          I'm going to pull up
5       this memo.         If you give me one second, I'm pulling up
6       the memo.
7                       Okay, can you see the memo here?
8            A.         Yes.
9            Q.         To whom it may concern, Candace Vaughn.                    Is
10      this the memo you were referencing?
11           A.         Yes.
12           Q.         If I scroll down here at the bottom, I
13      believe it starts -- from the highlighted section,
14      one, two, three --
15           A.         Okay, yeah, I see that Candace states
16      Veronica said that.           I had no --
17           Q.         I was going to say, so Candace did state
18      that Veronica made that comment?
19           A.         Yes.    I thought you meant did Joshlyn convey
20      that to me.
21           Q.         When I originally asked the question, yes,
22      that was what I asked, but now I'm asking are you
23      aware that comment was made?
24           A.         I'm aware that it was stated that it was


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1       made.
2            Q.         Okay.   And did you investigate to the best
3       of your ability whether or not this comment was made?
4            A.         I then had a conversation, or a received a
5       written memo from Veronica in which she states she
6       did not mumble anything to Candace.
7            Q.         Okay.
8            A.         So she said/she said.
9            Q.         Okay.   Did you interview any of the other
10      employees that were working with Veronica and
11      Candace?
12           A.         I did not.
13           Q.         There were how many other employees working
14      there?
15           A.         I don't know.
16           Q.         But there was probably at least a lead nurse
17      and, I believe, one other person, based on the fact
18      there would have been three employees, I think,
19      according to the memo?
20           A.         If they were within -- I -- I don't know.
21           Q.         Okay.
22           A.         I can't say.
23           Q.         Do you have any reason to doubt the veracity
24      of Ms. Vaughn's statement?


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1            A.         No.
2            Q.         And the only investigation that was
3       undertaken was asking Veronica if she had made a
4       blatantly and openly racist statement?
5            A.         That wasn't all.       I asked for a summary of
6       exactly what occurred.            Neither one stated that there
7       were any other witnesses for me to interview, so to
8       your previous question, there may have been other
9       people on the living area, but not as a witness to
10      what occurred.
11           Q.         Okay.   Let me ask, did you -- as part of
12      your investigation, did you ask Candace and Veronica
13      whether or not there were any potential witnesses, or
14      did they just not bring up that there were any
15      potential witnesses?
16           A.         Both.
17           Q.         Okay.   But in terms the racist comment, the
18      only investigation that you thought you could do was
19      by asking Veronica, did you say "I can't stand
20      working with Black people"?
21           A.         I had nobody else -- yes.             I had nobody else
22      to ask.
23           Q.         Okay.   And what was the result of that
24      investigation between -- specifically on the racist


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1       comments?         I understand that you're saying that you
2       looked into it and that Ms. Vaughn had to do three
3       times as much work because there was one less
4       employee.
5                       But in terms of the racist comment itself,
6       was there any further investigation into it?
7            A.         Well, I'm going to answer that question --
8       so it's a little frustrating, because I'm going to
9       review the whole incident to determine whether or not
10      the tasks that are being asked of her are in the
11      scope of her -- of her job.               And anybody can say
12      anything, so -- so I have nobody else to ask, did you
13      in fact hear Veronica make this statement?                      Did she
14      -- I can't tell you that she actually made this
15      statement.
16                      So did I investigate -- I'm not sure what
17      that would look like.
18           Q.         Okay.   Did this -- was there any sort of
19      action taken regarding this formal complaint?
20           A.         What do you mean by "action"?
21           Q.         You know, was there any sort of discipline
22      handed out to either Veronica or Ms. Vaughn?
23           A.         No, there was not discipline.
24           Q.         Okay.   And did HR look into Veronica


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1       allegedly making or allegedly having discriminatory
2       tendencies any further, or was this the end of that
3       investigation as well?
4             A.        If I am looking into the context of this
5       incident -- so I'm sorry with my frustrated answer,
6       because I had no reason to look any further because
7       the -- the basis of her statement was not true from
8       the work assignment perspective.                  She was not asked
9       to do more work based -- based upon her race, she was
10      being asked to do the work within the scope of her
11      job based on the staffing that day, and the person
12      that she was assigned to that day had already had
13      care provided to him.           He was already dressed, he was
14      already up, he --
15            Q.        Okay.
16            A.        -- was -- his supervision level was being
17      met by a different employee, therefore, she was asked
18      to assist to get other individuals on the living area
19      up.
20                      So to me, there -- there did not need to be
21      any further investigation.
22            Q.        Okay.   Now for the purpose of this
23      discussion, let's concede that Ms. Vaughn was
24      incorrect about the role that she needed to play as


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1       the -- as she was a med tech 2 at this point, right?
2            A.         No, she was a mental health tech trainee.
3            Q.         Okay.
4            A.         I'm sorry, she was a mental health tech 2 at
5       that time.         She had been promoted in August or
6       somewhere around there.
7            Q.         Okay.    So she was promoted, just -- just for
8       a timeline, she was promoted after the incident with
9       Angela and after the incident with Paula?
10           A.         Yes.    She was promoted 7-16-21.
11           Q.         Okay.    So she was promoted previous to this,
12      but post the other two incidents.
13                      So for the purpose of this question, let's
14      say she misunderstood her duties, okay?                      Her
15      misunderstanding her duties, does that give you
16      reason to doubt the veracity of her allegation that
17      Veronica made a racial comment?
18           A.         I don't know that Veronica made a racial
19      comment.
20           Q.         I understand you were not there, but do you
21      believe that her misunderstanding her duties affected
22      her testimony that Veronica made this comment?
23      Again, I understand that, to you, this is an
24      allegedly made comment --


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1            A.         Right.
2            Q.         -- but are you saying you couldn't -- you
3       disagreed with Ms. Vaughn's suggestion of racial bias
4       in the duties, that that automatically would
5       disqualify the fact that Veronica could have said a
6       racist comment in frustration?
7            A.         I'm saying that what Veronica was being
8       asked to do was within the scope of her job duties
9       that had nothing to do with race.
10           Q.         Okay.    Again, but -- I -- I'm specifically
11      asking about the comment.
12                      I'm saying even if Ms. Vaughn did
13      misunderstand her job duties, why would that mean
14      that this comment should be glossed over as something
15      that may not have happened?
16           A.         I don't have proof that it happened, I don't
17      have proof that it didn't happen.
18                      She was also then provided the
19      administrative directive and complaint form.                         I'm not
20      saying how -- that I glossed over the comment; it's
21      an alleged comment, with no witnesses, and she was
22      being asked to do her job.
23           Q.         Okay.
24           A.         I understand your question.                I -- I can't


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1       answer that, I don't believe.
2             Q.        Okay.    So just -- what can't you answer,
3       just so I'm specific about it?
4             A.        Maybe I can't give you the answer that I
5       think you want.
6             Q.        No, I think you've given me -- I just want
7       you to answer as best you can.                   I'm just trying to
8       look into why a comment -- and I want to just be
9       clear, right?           I understand that your position is
10      that what happened to Ms. Vaughn -- this is how I
11      understand your position; I don't want to put words
12      in your mouth or misstate your testimony.
13                      I understand your position to be that what
14      happened to Ms. Vaughn under Veronica's instruction
15      was not racial discrimination, okay?
16                      But what I also don't understand is how
17      Ms. Vaughn misunderstanding her position would
18      somehow bring less truthfulness to her allegation
19      that Veronica said this.              That's what I'm trying to
20      get to.
21            A.        Okay.
22            Q.        So -- so just again, let me ask you this.
23      If a complaint was made to you by an employee, okay?
24      That only said "My boss told me I cannot stand


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1       working with Black people," what would the process be
2       of investigating and moving that complaint forward?
3            A.         Well, I would, again, take written
4       statements, I would provide the administrative
5       directive with the complaint form, I would provide
6       that information to my facility director for guidance
7       on how to proceed.
8            Q.         And did you bring this -- this statement in
9       Ms. Vaughn's case up to the facility director for
10      guidance on how to proceed?
11           A.         Yeah, she had all this information.
12           Q.         Okay.   Oh, so I'm sorry, when you say "she
13      had all this information" you mean Ms. Vaughn or you
14      mean the facility director?
15           A.         The facility director.
16           Q.         Okay.   All right.      I would like to move to
17      the end of this memo where Ms. Vaughn gives her
18      14-day notice.
19           A.         Okay.
20           Q.         She resigns here.       She cannot tolerate
21      working in this racist environment.                   I'm putting in
22      my 14-day notice.
23                      And actually, while we go forward, I think
24      this is kind of what you're saying.


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1                       When you see "racist environment," you took
2       that solely to mean what happened with Veronica, or
3       did you investigate that as a compounding what
4       happened with Paula and with Veronica?
5            A.         I took it as Paula -- or I'm sorry, Candace
6       and Veronica.
7            Q.         Okay.   Okay, I'm going to turn the memo off.
8       Give me one second.
9                       Okay, is it back to me?             Are we still --
10           A.         It's you.
11           Q.         Okay, thank you.
12                      All right.     So -- so Ms. Vaughn puts in a
13      two-week notice and attempts to rescind her two-week
14      notice, is that correct?
15           A.         She did.
16           Q.         Okay.   Were you part of decision-making
17      process on whether or not to allow Ms. Vaughn to
18      rescind her two-week notice?
19           A.         I was not.
20           Q.         Okay.   Who made that decision?
21           A.         Sibyl Nash.
22           Q.         Okay.   When -- in your experience at Fox,
23      has any other employee resigned and then attempted to
24      rescind their resignation?


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1            A.         No.
2            Q.         Has any other employee left and then come
3       back?
4            A.         Yes.
5            Q.         Okay.     So let's start with rescinding the
6       resignation.            Is there a policy or procedure on
7       rescinding the resignation?
8            A.         There is an administrative directive that
9       says that once you put your notice in writing, in
10      order for you to have that rescinded, it would go to
11      the secretary; however, the facility director or the
12      facility has to agree.
13           Q.         Okay.     To the best of your knowledge, why
14      wasn't Ms. Vaughn allowed back?
15           A.         I would have to look at the -- the
16      information that I have in her chart.
17                      I believe that she put in her 14-day notice,
18      and we believed that it was her intent to resign, to
19      -- she submitted a memo on the 16th, her resignation
20      was effective the 17th, we received it on the 17th,
21      and so she must have put it in overnight.                       The
22      facility director reviewed that, and decided that she
23      would honor her original request, believing that that
24      would be best.


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1            Q.         Why would that have been best?
2            A.         You would have to ask her.            I believe --
3       yeah, I'm not sure.
4            Q.         Can I -- I'm going to pull up one more
5       exhibit here.
6                       Okay, so this is an e-mail from Sibyl Nash
7       to, it looks like, Kimberly Jones, and Rochelle
8       Jackson is you, CC'd on the e-mail.
9            A.         Yes.
10           Q.         And this is in regards to Candace Vaughn's
11      attempt to rescind her resignation?
12           A.         Correct.
13           Q.         So it looks like here in paragraph 2,
14      Ms. Vaughn -- it states that Ms. Vaughn attempted to
15      rescind her resignation on the 16th, not the 17th.
16      Paragraph 2, sentence two, on 12-16-2021 she reported
17      that she was rescinding her resignation.
18           A.         Correct.
19           Q.         It says she then contacted you, the HR
20      director, regarding her desire to rescind her
21      resignation, and it says there was a fruitless
22      discussion with Ms. Vaughn.               Do you know --
23           A.         Sure.   So she had called to say she wanted
24      to rescind her resignation.               I stated that I did not


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1       have anything in writing.              She then submitted a memo.
2       And I explained to her the process that once it's in
3       writing, that the facility director is going to have
4       to accept -- she was the entity to make that
5       decision, and if she agreed, it would go to the
6       secretary's office for approval, and she did not
7       understand that.
8                       So because the facility director was the
9       entity making that decision, I conference called the
10      three of us.
11            Q.        Okay.   So you conference called Sibyl Nash
12      in?
13            A.        Correct.
14            Q.        And then Ms. Vaughn started bringing up the
15      allegations she believed were swept under the rug?
16            A.        Yes.
17            Q.        So -- and then finally, Ms. Nash told
18      Ms. Vaughn, looks like on the 16th, she was not
19      accepting her rescinded resignation because Fox
20      Center was not a good fit for her, and it looks like
21      we're speaking a lot about some of Ms. Vaughn's
22      allegations.
23                      Do you think Ms. Vaughn making these
24      complaints, just based on this e-mail, had any


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1       influence on whether or not she was "a good fit" for
2       Fox?
3              A.       That statement's coming from Ms. Nash.                      She
4       would need to comment on that.
5              Q.       Okay.     Do you think Ms. Vaughn was a -- was
6       a good fit for Fox as an HR manager?
7              A.       Well, from an HR standpoint, I really didn't
8       have a lot of interaction with Ms. Vaughn other than
9       these three incidents.              I didn't have a bad rapport
10      with her at all, so I deferred to the facility
11      director's decision.
12             Q.       Okay.     Ms. Vaughn was promoted, you said, in
13      July of 2021, right?
14             A.       Yes.
15             Q.       Have you seen any of Ms. Vaughn's
16      performance reviews?
17             A.       I have.
18             Q.       So she consistently met expectations,
19      correct?
20             A.       She -- so in the time that she was a
21      trainee, she would have received two evaluations, and
22      then upon promotion, she have would have had one
23      evaluation.
24                      I believe when I reviewed these, her initial


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1       evaluation, after three months, if I recall that
2       correctly, she did meet everything.
3                       Subsequently, her final probationary as a
4       trainee, there was a "not met" in human relations.
5             Q.        Okay, "not met" in human relations.                 When
6       was the final evaluation.
7             A.        Pardon me?
8             Q.        When was the final evaluation?
9             A.        I would have to look, but they typically
10      would be at about three or four months, and then at
11      the six-month mark of the training time.
12            Q.        Okay.   So this would be -- so human
13      relations, is that -- just to clarify, human
14      relations between, like, the techs and the patients,
15      or like intercompany human relations she needed to
16      improve?
17            A.        I would have to review the section of the
18      evaluation.
19            Q.        Okay.
20            A.        I believe it's peers.
21            Q.        Okay.   So would this one area of "needs
22      improvement" have come before or after the incident
23      with Paula?
24            A.        Honestly, I would have to look at the date.


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1       I don't know.
2              Q.       Okay.   So if it came -- but if it came
3       after, she was still promoted despite one area of
4       "needs improvement" because she met or exceeded all
5       the other expectations?
6              A.       Correct, she met the -- yes.
7              Q.       Okay.   So Ms. Vaughn was an employee who
8       exceeded expectations or met expectations --
9              A.       She met them.     I can't say that she exceeded
10      them without looking at the evaluation.
11             Q.       Okay.   So "met expectations" is enough to be
12      promoted, but was still considered not a good fit.
13      Why?
14             A.       That is a statement that Sibyl Nash made.                   I
15      don't know.
16             Q.       Okay.   So the company's position -- because
17      again, you are testifying on behalf of the company
18      here too.         The company's position isn't that she
19      wasn't good fit, it's just Sibyl Nash who thought she
20      wasn't a good fit?
21             A.       Well, no, I can't say that.               I would also
22      need to review her discipline history to see were
23      there other issues of concern.                 I'd also need to look
24      at her attendance to see if that played into the


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1       picture for Ms. Nash.             I -- I don't know.
2            Q.         Okay.   Had this discussion not been
3       fruitless, the discussion you were on, would -- would
4       there have been a chance that Ms. Vaughn would have
5       been let back to Fox?
6            A.         I don't know.
7            Q.         Okay.
8            A.         Because again, that was not my decision.
9            Q.         Sure.   Okay.     So -- but the e-mail that you
10      are on here does say that she told her she was not
11      accepting her rescinded resignation after they had a
12      fruitless discussion?
13           A.         Fruitless.      Her words, not mine.
14           Q.         Understood.
15                      And that discussion mostly related to -- my
16      understanding is you were on the entire call, right?
17      This discussion mostly related to the investigations
18      into Veronica and Paula and Angela Smith?
19           A.         I don't recall that those were discussed at
20      any length, other than a statement being made.
21           Q.         Okay.   In this e-mail you are copied on
22      here, you disagreed with her that the incidents were
23      not thoroughly investigated and swept under the rug.
24                      I also let her know regarding her position


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1       there was no consequence to her peers, that she
2       alleged to have harassed her.                  She would not have
3       knowledge of what discipline another staff received.
4       Finally, I told Ms. Vaughn I was not accepting her
5       rescinded resignation.
6                       So what is in the e-mail is specifically in
7       relation to these three incidents, even more so
8       harassment to Veronica and Paula; is that correct?
9            A.         Paraphrased, yes.
10           Q.         And then after discussing that, the decision
11      was made, finalized, that we are not going to accept
12      her rescinded resignation?
13           A.         I believe she said finally, I told
14      Ms. Vaughn that I was going to accept her rescinded
15      resignation and agreed with Ms. Vaughn that Fox
16      wasn't a good fit.
17           Q.         Okay.     So after discussing these incidents,
18      we -- the decision was made to not rescind her
19      resignation?            I know you did not make the decision,
20      but --
21           A.         Correct.
22           Q.         -- discussing these, it was finalized -- I'm
23      not paraphrasing the e-mail.                  It was finalized that
24      the recision would not be accepted?


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1            A.         Ms. Nash did not rescind the resignation,
2       that is correct.
3            Q.         I'm going to...
4                       Here's an e-mail to you, or from you to
5       Ms. -- Ms. Nash regarding the memos, it looks like
6       attempting to rescind the resignation, and the actual
7       resignation, and it looks like you say here, again,
8       I'm just going to basically paraphrase, but basically
9       once in writing, a resignation can only be rescinded
10      with her approval and the agency/secretary's
11      approval, and I'm not sure if you require division
12      approval.
13                      So that's basically you saying I can't
14      rescind it, it has to come from you and then
15      potentially above you?
16           A.         Correct.
17           Q.         Okay.   So at this time, to the best of your
18      knowledge, the recision wasn't final -- I'm sorry,
19      the resignation wasn't final; there was still an
20      opportunity for it to be rescinded?
21           A.         Sure.
22           Q.         Okay.   And this is prior to this fruitless
23      phone call.         I think I just popped it off.               Sorry.
24                      This is at 10:03, so this is prior to the


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1       allegedly fruitless phone call?
2            A.         So 10:03, and what is the e-mail time of
3       Sibyl's?         Because honestly -- so that was 11:12.
4                       Attached memo...
5                       So I had the memo, I scanned it at 10:03,
6       I'm going to assume that the phone call occurred
7       between this time and the time that Sibyl sent out
8       the e-mail.
9            Q.         Okay.     I'm going to turn the exhibit off
10      here.
11                      Was Ms. Vaughn ever told the outcome of her
12      final investigation -- I'm sorry, strike that whole
13      question.
14                      Was Ms. Vaughn ever informed of the outcome
15      of the dispute between herself and Veronica?
16           A.         What do you mean by "outcome"?
17           Q.         That --
18           A.         Because I'm --
19           Q.         Sorry.
20           A.         I don't know.       It is my responsibility to
21      provide the information to the facility director.
22           Q.         Then after December 17th when that
23      resignation refused to be rescinded, do you know if
24      there was any contact with Ms. Vaughn whatsoever from


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1       either HR or anywhere else?
2            A.         I don't know.
3                       MR. TAYLOR:      Okay, those are all the
4       questions I have.
5                       I'll go ahead and pass the witness.
6                       MR. HOGUE:     Okay.      I have a few questions
7       for you, Ms. Jackson.
8                       THE WITNESS:      Sure.
9                                    EXAMINATION
10      BY MR. HOGUE:
11           Q.         I'd like to start with the discussion about
12      BCA versus an internal written charge.                      Is BCA the
13      proper place for a complaint to go?
14           A.         Yes.
15           Q.         Can you just briefly explain why?
16           A.         Because they are the entity that
17      investigates all allegations of discrimination and
18      harassment.
19           Q.         And so the reason why you're only aware of
20      one complaint for the internal process is because all
21      the other complaints would have gone to BCA?
22           A.         Correct.
23           Q.         Okay.   And does the administrative directive
24      supersede the handbook?


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1            A.         I don't know.
2            Q.         Fair enough.      Thank you.
3                       I'd like to go to the 14-day notice then.
4       So you -- you actually received it on 12-17, correct?
5            A.         Correct.
6            Q.         All right.     And does -- does a late notice
7       on the last day, does that complicate the process for
8       rescinding it?
9            A.         Well, I'm not even certain how I received
10      it, because it would have been in my in-house mail, I
11      stamped it the 17th, Ms. Vaughn called off on the
12      17th, so she did not work her last day.
13           Q.         Okay, thank you for that.
14                      But would receiving a last -- on the last
15      day, receiving a request to rescind the -- I guess to
16      receive a -- sorry, I don't know why I can't say this
17      right now.
18                      Receiving a request to rescind a resignation
19      on the last day, does that create any difficulties
20      for processing the request to rescind?
21           A.         Yes.
22           Q.         And can you explain that?
23           A.         So the process for rescinding, if the
24      facility director agreed, she is going to have to get


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1       that up to her supervisor in the division, then it
2       has to go to the secretary, and it would not be able
3       to be processed in a timely manner, likely, by the
4       end of the 17th.
5            Q.         Thank you for that.
6                       Then I'd like to address what's -- it's been
7       called a promotion from trainee to mental health
8       technician 2.
9                       Is that more of an automatic process,
10      though, as long as the Agency doesn't terminate the
11      trainee's position?
12           A.         Yes.     So with the mental health trainee,
13      they were required to be promoted within one year
14      minus one day.            If they are not promoted, then they
15      would be terminated.             It's a target title.
16           Q.         Okay.     So this promotion then is more of an
17      automatic process that occurs?
18           A.         Not -- not to be confused with a
19      semiautomatic promotion which the contract
20      designates.            They have to meet the qualifications to
21      be promoted, yes.            It -- sorry.
22           Q.         No, thank you for your answer.                I appreciate
23      that.
24                      One moment, please.           Let me re-review my


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1       notes.
2                       Oh, sorry.     And so did you suggest to
3       Ms. Vaughn that she reach out to BCA to file her
4       complaints?
5             A.        I did.
6             Q.        And did you do that multiple times?
7             A.        I did.
8             Q.        Okay.     And that's -- okay.
9                       Did Ms. Vaughn ever indicate to you the
10      reason why she did not want to file -- or send her
11      complaints to BCA?
12            A.        She did not.
13                      MR. HOGUE:     Okay, that's everything I have
14      then.
15                      Do you have anything else, Alex?
16                      MR. TAYLOR:      I have a couple of follow-ups.
17                               FURTHER EXAMINATION
18      BY MR. TAYLOR:
19            Q.        You recommended Ms. Vaughn submit her
20      complaints to BCA?
21            A.        Correct.
22            Q.        However the written policy we looked at
23      earlier said she should complain either to BCA or
24      file a written complaint with her superior, correct?


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1            A.         That is what the administrative -- I'm
2       sorry, that is what the handbook indicates.
3            Q.         And that's the handbook Ms. Vaughn would
4       have received?
5            A.         Correct.
6            Q.         Okay.   Couple other questions.
7                       We said -- I'm sorry.          You said that on the
8       17th, it would be more complicated to re -- strike
9       that.
10                      It would be more complicated for an employee
11      to rescind her resignation on the last day because it
12      has to go up the chain?            Paraphrasing, but that's
13      what I understood.
14           A.         Yes.
15           Q.         Would Ms. Nash -- where would Ms. Nash be on
16      that chain?
17           A.         She would be the first.
18           Q.         Did it ever go up the chain?
19           A.         I assume so.    I don't know.
20           Q.         But Ms. Nash, in this e-mail -- and I can
21      pull it back up if you need to.                  Ms. Nash said she
22      was not going to be rescinding it post phone call, so
23      that would have been after the very first step on the
24      chain, correct?


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1            A.         Correct.
2            Q.         Okay.   So it never needed to go up the
3       chain, so any of those future complications never
4       actually occurred?
5            A.         Correct.
6            Q.         Okay.   So there was no added complication in
7       this specific instance of the timeliness of it
8       because it never got past the first step?
9            A.         Correct.
10                      MR. TAYLOR:      Okay, that's all I have.
11                      MR. HOGUE:     I have nothing based on that.
12                      Would you like me to discuss signature,
13      Alex?
14                      MR. TAYLOR:      Yes.
15                      MR. HOGUE:     Ms. Jackson, you have the
16      opportunity to review this transcript, and the
17      purpose of the review is to correct minor errors.                           I
18      know we discussed acronyms a few times, so in case an
19      acronym was inadvertently misspoken or inadvertently
20      not taken down properly, an acronym could be
21      corrected, minor spelling errors, particularly with
22      names could be corrected.
23                      What you wouldn't be able to do is correct
24      substantive -- make substantive changes; you wouldn't


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1       be able to change a "no" to a "yes" for example.
2                       Would you like the opportunity to review the
3       transcript, or do you wish to waive signature?
4                       THE WITNESS:      I will waive signature.
5                       MR. HOGUE:     Thank you.
6                       Signature's waived.           We can go off the
7       record.
8                       (Deposition concluded at 12:45 p.m.)
9
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20            IN WITNESS WHEREOF, I do hereunto set my hand at
21      Chicago, Illinois, this 17th day of August, 2023.
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23                                    <%2112,Signature%>
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           Federal Rules of Civil Procedure

                           Rule 30



(e) Review By the Witness; Changes.

(1) Review; Statement of Changes. On request by the

deponent or a party before the deposition is

completed, the deponent must be allowed 30 days

after being notified by the officer that the

transcript or recording is available in which:

(A) to review the transcript or recording; and

(B) if there are changes in form or substance, to

sign a statement listing the changes and the

reasons for making them.

(2) Changes Indicated in the Officer's Certificate.

The officer must note in the certificate prescribed

by Rule 30(f)(1) whether a review was requested

and, if so, must attach any changes the deponent

makes during the 30-day period.




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THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

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